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                                                        July 13, 2009

      VIA EMAIL
      M. Justin Draycott, Esq.
      Patrick Herkry Building
      601 D Street, N.W.
      Washington, DC 20004


               Re:     United States ex rel. Ven-A-Care of the Florida Keys v. Abbott Laboratories,

      Dear Justin:

             This letter requests proposed dates and identifying information for outstanding
      depositions related to (1) Abbott’s 30(b)(6) topics, (2) depositions at which the Government
      asserted the deliberative process privilege, and (3) CMS Office of Legislation employee Ira
      Burney. Because these depositions will likely be cross-noticed in other AWP cases, it is
      important that we schedule them sufficiently in advance of the actual depositions.

             Outstanding 30(b)(6) Subjects of Inquiry. As you know, Magistrate Bowler granted
      Abbott’s motion to compel deposition testimony on the following 30(b)(6) topics:

               Remaining Topics from Abbott’s November 21, 2007 Letter

               2. CMS’s contemporaneous position during 1991-2003 concerning the meaning of AWP
               in any relevant Medicare or Medicaid statute or regulation, and the manner in which
               CMS and its carriers interpreted or implemented AWP in accordance with that position,
               including but not limited to:

                        (a) how CMS, its employees, agents, or carriers interpreted and applied the
                        term "AWP" or "national average wholesale price" as used in 42 C.F.R. 405.517;

                       . (b) how CMS, its employees, agents, or carriers interpreted and applied the
                        terrn "AWP" or "Average Wholesale Price" as used in Section 4556 of the
                        Balanced Budget Act of 1997, 42 U.S.C. § 1395u;

                        (d) whether CMS, its employees, agents, or carriers believed that "[t]he
                        general concept that the AWP refers to the price at which a pharmaceutical firm


ATLANTA ¯    BEIJING--   BRUSSELS    CHICAGO   ¯     CLEVELAND ¯   COLUMBUS--    DALLAS ¯ FRANKFURT -      HONG KONG    ¯    HOUSTON
IRVINE ¯  LONDON ¯ LOS ANGELES ¯     MADRID        MILAN ¯   MOSCOW ¯ MUNICH       NEW DELHI ¯ NEW YORK    ¯   PARIS      PITTSBURGH
SAN DIEGO       SAN FRANCISCO     SHANGHAI         SILICON VALLEY    SINGAPORE      SYDNEY     TAIPEI        TOKYO       WASHINGTON
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               or wholesaler sells a drag to its customers is commonly understood in the
               industry" (United States’ Objections and Responses to Defendant Abbott’s First
               Set of Interrogatories at 35 (12/4/2006));

       3. The manner in which CMS, its employees, agents, or carriers have interpreted or
       implemented the term "Average Wholesale Price" or "AWP" since the passage of the
       Medicare Prescription Drug Improvement and Modernization Act of 2003 (Pub. L. 108-
       173).
       7. What steps CMS, its employees, agents, or cmriers took upon learning of the Ven-A-
       Care qui tam complaints, the article published in Barron’s magazine entitled "Hooked on
       Drugs" (June 10, 1996), or any other communication advising them that AWPs for the
       Subject Drugs exceeded the acquisition costs for those drugs.

       8. Why CMS, its employees, agents, and carriers, and vm-ious state Medicaid programs
       continued~to pay for drugs based on published AWPs even when presented with evidence
       that AWPs did not represent the price at which physicians and pharmacists purchased
       drugs, including whether the decision to pay for drugs based on AWP in Medicare or any
       state Medicaid program was affected in any way by

               (a)   political negotiations;

               (b) concern about adversely affecting access to care for Medicare and
               Medicaid beneficia-ies; or

               (c) a deliberate effort to "cross subsidize" physicians and pharmacists for
               inadequate dispensing fees or inadequate payments for selwices rendered incident
               to administering infusion or injection drugs.

       9. What the Medicare program would have paid for the Subject Drugs had they had
       actual knowledge of the prices at which physicians and other customers purchased the .
       Subject Drugs.

       10. Any communications by CMS, its employees, agents, or carriers, DOJ, or any state
       Medicaid program to any compendia seeking to prevent, discourage, or alter in any way
       the publication of AWP data.

       16. Any and all efforts by CMS to establish a Federal Upper Limit for any of the Subject
       Drugs or Subject J-Codes during the Relevant Claim Period, as authorized by 42 C.F.R. §
       447~332, and CMS’s reasons for any decision or policy not to establish a FI~ for the
       Subject Drugs and other injectables.
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       17. Any and all efforts by CMS to disapprove state Medicaid plan amendments that
       based payment for drugs on AWP for any of the Subject Drugs or Subject J-Codes during
       the Relevant Claim Period, and CMS’s reasons for any decision or policy not to use its
       authority to disapprove state Medicaid plan amendments that paid for chugs based on
       AWP or any formula that did not result in an accurate estimate of acquisition costs.

       18. The frequency and manner in which each State Medicaid agency made findings and
       assurances to CMS during 1991-2003, as required by 42 C.F.R. § 447.333, that "[i]n the
       aggregate, its Medicaid expenditures tbr all other drugs are in accordance with § 447.331
       of this subpart," as well as all communications between CMS and State Medicaid
       agencies regarding these fmdings and assurances, all related guidance or interpretations
       provided by CMS, all efforts by CMS during 1991-2003 to request and!or evaluate any
       "data, mathematical or statistical computations, compm-isons, and any other pertinent
       records to support [the State Medicaid agencies’] findings and assurances" (8
       447.333(c)), or CMS’s reasons for any decision not to require states to make such
       findings and assurances. With respect to multiple source drugs for which CMS did not
       establish an upper limit under § 447.332, this topic includes the frequency and manner in
       which each State Medicaid agency made annual findings and assurances to CMS that
       "[i]n the aggregate, its Medicaid expenditures for all other drugs are in accordance with §
       447.331 of this subpart." 42 C.F.R. § 447.333(b).

       22. All efforts taken to preserve evidence in response to the March 17, 2000 request
       made by various pharmaceutical manufacturers that the government not destroy evidence
       supporting those manufacturers’ defenses in this case. See Ex. E to Abbott’s Motion For a
       Preservation Order and Affidavit Regarding Spoliation Issues (Sept. 13, 2007).

(Dec. 4, 2008 Hrg. at 29-45.) For your convenience, I have attached a copy of the redlined
document which was used during the hearing with Magistrate Bowler.

       Please provide, at your earliest convenience, the name(s) of the witness(es) who will be
prepared to testify regarding each of the above subjects, as well as proposed dates for each of
these depositions. It probably makes sense to avoid those weeks where summary judgment
briefing is due. We expect that the witness(es) designated for Topic 2 will be prepared to testify
regarding the "revised opinion’’ from OGC counsel referenced in HHD340-0031-0034. Also, we
expect that the witness(es) designated for Topics 8, 17, and 18 will be prepared to testimony
regarding the document recently produced at HHD327-000001-000004 (the CMS decision
memorandum).

      Deliberative Process Privilege Challenges. The Special Master’s June 29, 2009
Supplemental Memorandum and Order on In Camera Review of Documents and Deposition
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Testimony gn-anted Abbott’s motion to compel testimony on 23 instances where Government
counsel asserted the deliberative process privilege to instruct federal employees not to answer
deposition questions. The June 29 Order provides that "the particular witnesses should be
produced for fmther inte1Togato12 on the subjects in issue."

       Please provide proposed dates for the scheduling of these witnesses (Messrs. Vito, Reed,
Niemann, Booth, Tawes, Thompson, and Ms. Ragone). Please coordinate the depositions of Mr.
Vito, Mr. Tawes, and Ms. Ragone so that they can be completed in one trip to Philadelphia.
Again, it probably makes sense to avoid those weeks where summary judgment briefing is due.

       Ira Burney. Please provide proposed dates for the deposition of Mr. Burney.

       Thank you for your attention to these matters.

                                              Sincerely,

                                              /s David S. Torborg

                                              David S. Torborg


cc:    Counsel for Ven-A-Care
       Counsel for Dey
       Counsel for Roxane
